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Okay..              lcnow        you were                   having            problem              reading         the    format            for the      Incentives                  50      tried to          simply

repoæ        for    it.      will       send           it   let    me know           lit      is    easier    to    read




     ok




Nancy        we           read       that        the        ejiait     and       attathnent..                would        you        like     us   to    call        you




sure         call       me      at    lb    780-416-0244




whoa                         call
                                        you       instead                 Susan        is   out      and      dont        know where                    your         call     will   go




Hi                        On     tile    incentives                  for     Dcl     31-Nov           6th     have        two         agents       who      you say                  are    qualified              for   bonus       but

 show         they have                  errors Please                       investigate                                                    Cod     SC     error             Nov            and                                 code

     error     on         Nov




Good         Morning                                                             was      just      informed         that      the     re-biling          did        not      pet through              on      the admin

system              there        was          an        issue        that     they      are        looking        into      So you probably wont                                 need        as   many             staff       as   we
thought            tot     today            Probably                 too     late    to     do     anything         about        it   now          Sorry              twill
                                                                                                                                                                                get back          to     you        with       any

news         on     what         to     expect              as soon           as     lam up           to    date    on     what        is    happeing




Thats        great         newsl            if   that         was      the    case          we     would      have        been         slammed             today              with    the     additional

volume...thats                   what              was            dreading          loday.             jusi   want        to    have           great       monday...this                     could            be    the    one




Thank         you          Nancy..               Actually            things         should          workout         okay       since         we     have         to      expalin          the     new         billing      system
and       uplrain          the        agents




no     21a    Ihough




     guess         since        we       took           down         all   the      other        websites           salS dropped                   from around                       15000        to    7.000              day      so   it




should            not      be    too bad                lot       calls    for       few      days           Once        the   re-billing          hits         it    will     get busy                will     let
                                                                                                                                                                                                                         you    know
as soon             as they determine                              what       they are going                 to    do    aboul         the    admin        system                and       the    billing




 Have              good         Monday




                                                                                                                                                                                                   GCS-FTC_00000891




                                                                                                       P1 Exhibit                     Page 00822
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thanks        Nancy




Hi                   Have you made                         any changes                     to    the    script        or protocols              sine        the       last time           you sent           it
                                                                                                                                                                                                                   to    me



 have         not    made        any            currently..         however                     am      in    the    process           of    changing                 the      billing         explanation               for   the

agents         We       are     also            starling        this uptraining                   today         10   go     over      this.




ok     sounds           good                           Let       me know when                          you     make         the      changes              and          will    get       my     newest            purple

monster              Do you want any help                           with           scripting            or    are you         ok     with       it




lam      trying       to   make            it
                                                 really      easy.            it   should          be       okay




Ok      let    me know            ii
                                       you         want         help      or       if
                                                                                        you want             me      to   ask       foryouto              come         to
                                                                                                                                                                              sunny        Alberta




okay..         tllnak      you




Hi                   Wien              tier            agent       is    transferring                  to    tier           should         we        be    able       to      hear       the    conversation                   they
are    having         about          the         account




Yes     but     only       in   the    tier        ls      call.        the        tier         call    should         start        only    after         the     Tier          agent           has   transferred                and
therefore            wont       have             the   conversation




ok      thanks               just      listened            to      cell        and          could           hear     the     tier
                                                                                                                                           speaking             to    the      tier        about       the        customer

issue           assum           the        cx     is   not      hearing            it     and    then        the     call    stads         new when                  tier       hangs           up    and         tier         begins
to    talk    with     the      cx




correct




                                                                                                                                                                                                     GCS.FTC_OOOOO892




                                                                                                       P1 Exhibit                    Page            00823
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Hi                         am haAng                          hard         time understanding                          why         Agents            are    still   refunding         on   Fraud        cases                  had
                                     Nov23             calls           and        today      for    the 24th                have                                          Can   you       see    if   either       of    those

agents            are     in
                                today        and             if   so      make them                very        aware        of    the        change




No      problem..                 and        will        check             if   they have               taken        part    in    the           uptraining




Ok          actually            on                                             for    Nov 24            call        she master                   cancelled          not   refunded           But       it      still
                                                                                                                                                                                                                         wrong
I-las       the     protocol              and         script        been           changed               on    the computers                       for   agents      to   know       about      in    FYI




 lust        spoke         wilh        lareva            and           she        did   go     thru       the       training       yesterday                  Apparently        she       was confused                   but    she
was         set    straight           yesterday




OR            hope         she        has        it   straight                  because            in    her notes                she        states        she     Informed       the customer              that         the    bank

would             issue         refund       forme charge                               but she           master         cancelled                  so the charue           has      been       voided




                           will      be    here          at       1130




     will    address              here      then




As      for                       she       is     aware                 and      any errorshe                  may     get       is        on    her     now
                  ______




And          has     the        FYI       and         scripting                been      put    on       the        computers                yet




sony          yes         let     me       send         it     to   you




 rio        problem                  can    wat           for       it    until      you     get    all       the    changes                that     you      were going        to   make        done           or      are    they




 all    the       previous            changes                     yes..         the     new        protocols           we      just         did     yesterday        no..




 OR          well    jets         wait      and         get         them on             there       and        then     send           it   ok




                                                                                                                                                                                                  GCS-FtC_00000904




                                                                                                              P1 Exhibit                         Page         00824
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FYI     if    you      are     talking    10                   believe     she     is   scheduled      for            as    per_______        notes        so you   may want
to   check          first




No     problem..                will




Wiat         time      are     you     into        for   today




Just     till   1200am




sorry        PM




 Got     big        plans      for turkey




 Got     to     go    to     moms..         family        is
                                                               getting    together




 Thai        will    be     fun      Enjoy               am    getting    hungry        thinking    about    turkey        dinner




 Thank          you         twilL.     lam     starving          already




 Ha
 Good           Morning




 Good           Morning           Nancy        lam        going     to   be    interviewing         fortho   rest     of   the   day   for   QA..   if   you need   something

 please             email     roe   and      Ill    get back       to    you    as quick       as    can




                                                                                                                                                          GCS-FIG_00000905




                                                                                        P1 Exhibit           Page 00825
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Hi   ______            that         sounds          good            just     got        in    at    930 myself




Hi   ____




back       in    the     office         in    case        you      need        anything




     Hi                           was        just    chatting        with                     about          the        charges             in    purple             They        should         through                        in
                                                                                                                                                                                           go                    tonight

batches               Once           that     happens we                 hope           the        rest    will     fall     into        place            lithe       charges       go     through     as expected

this      evening              then          he     calls    could         get      really          busy          and      if   the       hold      times           get    too    long     we nay          ask    to    have
an     IVR      put     on        telling          customers         to      go     online           to    the      chat          line     and          then    give




the chat          people             permission              to    give        return         instructions                      So we            will    have        to
                                                                                                                                                                           keep    an     eye   on   the    hold       times




No     problem               will    do.




     okey        dokey




Hi     ____



Hi




Good            Morning




Good            Marring               Have you seen                     an     increase              yet      today          in    call     volume




Right           now     it   is     looking          good..        we      have          not       had       an     increase               that         has    not        been    nianageale           by   the        floor

Currently              we have               no     calls    in
                                                                   queue




Ok         thanks
                             ______
                                              ft    is   looking        like      the        mess         billing       we        expected               to
                                                                                                                                                               go    through        last night       re     purpte




                                                                                                                                                                                                GCS-FTCU000906




                                                                                                      P1 Exhibit                           Page 00826
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                                                                                                                 ....y%.%%N                                 %.fl.                                     .i
pending         did    not     go      well        will      get          back     to    you        asapwhen                  know         more




Thank      you.




Iii




Hey     Nancy



How     are you        doing              are    you      out        making                  snowman




  really   wish        Was.            snow       in    el
                                                             paso           is   like          snowball           in    hell.        they    just   never        happen




You want         to    see      lots      otHell          come             on    down          to   Edmonton                   ha    ha




lam wondering                 if
                                    you can        confirm                with     me        that    you    have         been         keeping       stats    of    the    reason       for   calls




  we    sent     them        out     last       week..          to    tech       and         they    are    in    the     process           of    making     the    switch            was    told    they
would      start      very quickly               once        they do               can        send      you            daily     report      if
                                                                                                                                                  you woulJ         like




Yes      that    would          be     good          We      are          trying        to   determine            what         the    main        reason    is    for calls       coming       into   GC
That would             you         guys     determine                is    the   topS          things       and        what         puts   ART up




Cancellations                Billing        Errors      and          Refunds.                 but    this   is   just     what         think.        the    repod        will    better     narrow     it




down




thanks




Good       Morning           Nancy           We      seemed                lo    have         had       gfltch         with     the    system        this   morning             but   as   ram      sending




                                                                                                                                                                                  GCS-.FTC_00000907




                                                                                              P1 Exhibit                      Page         00827
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you       this     it   seems       to    be going         back           up. we were down                         for    approximately                   15   mm      with       only          handful of

reps       taking          calls    we     just    wanted            to    make you aware




Ok        great            Thanks         for    letting       me know




Good         Morning                             Can you pleae                   update        the    agents             that    ills      really    important             for   them      to   put    their

initial     and         last     name      along        with        their   id    number         in   notes                       tired      of   having        to    look       up   an   agent       by   their

id   number when                     am        checking             notes    in    accounts            It    is    not    that     big      of      deal       to    add     their    initial    and    name
thanks




No     problem




      thanks




Hi                         Can     you    tell   what      the       hours        are    for    GC    in     El    Paso         and        then     the    same        for    Oklahoma            please




Sony         the        hours      are    Cam       to     8pm       Moutain            Standard            Time




Ok         so      that     is
                                    days          week         at    both    centres           then




No        only          Monday           Saturday..              Sunday           is    off   no one          taking        calls




ok         thanks




Hi                         Yes we        are     having        the     2pm         conference               call    today           talk     to
                                                                                                                                                  you      then




Okay         Ill     let    everyone           know




oR         sounds           good




                                                                                                                                                                                      GCS-FTC_00000908




                                                                                              P1 Exhibit                    Page           00828
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just    in    case        you          need        the    number 1-86-8l9-O78O                                                 .passde 8134856




Hi




Hello        Nancy                             have        been            in    interviews                the    entire       day        and    probably           for the         rest..           will    come       in   and
                               surly

check         my email every                        so    often            in    case         can          help you           with     anything




No problem                         was        just    going           to        ask    you     if   the      call       volume            has increased                much today




No we              have        still     not       seen        the    upswing             in    calls        yet         It
                                                                                                                              may come            tomorrow               or   later      in    the    evening         once

everyone             gels           home           and     checks                their   finances..




Talk     to    you        in           bit     Have              couple               more interviews..




Hey Nancy                      have             response               for.                    we          have         about        47    Product         Research               Form forthe                purple

accounts                  we           are asking              that        the    agents            fill   them         out    after       every        call




just    so     we     can              deal    with       the     blue           charges            that     for        most     of    the      customers              is   coming            up   really     quickly




 lam         not    sure what                  you       are     talking              about                       try     again       please




 Sorry                         as       asked         about           how         many         calls        have        we      have       had     in    reference            to    the       rebilling      right     now 47

 produc             research              forms           PRFs                  have     been          turned           in..    we are asking                   that     they      nil    them        out    for the     call   so
we      can        send         them          to    you        for either             refunds              pending            blue        charges        that     will      not    cancel            etc..




Sorry                                              advised            you             would      give you               an     answer
                   thought1




                                                                                                                                                                                                     GCS-FTC_00000909




                                                                                                            P1 Exhibit                     Page          00829
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No    problem..




thanks




      Nancy




Hi    _____




Hey nancy              was       the    format      for       theACR        report    that        sent yesterday       okay




 think       twill      be    great                     but    truthfully       did   not    get   too   much time         lo look    through   it   lam working      on
the    new      stuff    right       now         will     look   for   sure today           and    get back     to   you




No     Problem           thank         you




One      last     question         we     have      21 account              where       week        later the   customer        has        pending    paymenL       can

you      take          look      wejust       cant        explain      to the    customerwhythe                 frequency       of   the   charge    and   the   reason    for

the charge




AccE     DZW1           647g0287059




sure            will   have            look   and       get    back    to   you as soon           as     do




no     problem..             thank      you



Hi




Hi




                                                                                                                                                     GCS-FTC 00000916




                                                                                  P1 Exhibit                  Page 00830
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Sony     was          buying           christmas             decorations




Oh     really         is     there             good       sale          shouki     know      about            ______is
                                                                                                                               ______
                                                                                                                                          about          was wondering            ii   she       wifl


be    sending           me        an     ACR         report       in    the    new       format you      devioped




yes    let    me       let    her      know          to   update         you     now



are    we     still
                        meeting                at   203pm




good     question                  let        roe   check        with     1-leman          Wed    at         always      sneeks         upon     med-j




yes      it   is        go        Talk         to   you     in
                                                                       couple      minutes




Okay




Just    quickly              before           the   call          have        infoniiation       on    the    MBG        for the   upselt       now   that   there      is   35   day        trial


period             On      the    thaI         product           the    MBG       will   start   the day they are               charged         which    actually       extends        it
                                                                                                                                                                                            up   to

65 days               The second                    and     continuing           shipments        would        have       30    days     from   the   dale   of   the    charge        for

them




Thank         you




                           what        is     the   number again                 please




     promise          to     write       it    down       this    time




 1-866-819-0780....passcode




                                                                                                                                                                     GCS-FTC_00000917




                                                                                             P1 Exhibit                  Page      00831
                               ._....-....



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No problem..                   Quick        Question        Would            we         need        any     scripting           for Tier




lam      thinking          NO          but        have     to     think      it
                                                                                  through            whh        this       dam change             in   the   trial    periodfrom              30    to   35     days
and     then      the      not      charging         lorthe         upsell         until       35     days           later instead           of   on   the   same         day    they ordered
\Miat      is    you     opinion




Hi




Hey There




  had           look      at    the    script       it   looks      good           to    me          So when               do you       think     you    are ready            for   us   to   launch          this




Monday..




We      will     finish        up     everyone           saturday.                and          couple           of    straglers        on     Monday         Morning




Straglers          only         due    to    absence




OC         is    80%       completed              inregards          to    training                and    ELP         is   at   or   right    above      50%         completed           we        have       more
agents




Ok             shall     let   them know             then            think         that       is   pretty       darn        good        So what         do    you     think      of this      new        idea    ci

membership




Looks           really     good..           we were         discussing                  the        changes and we                    think      they can      only     be     good       for   you        and    us




Great             will    get back           to    you     with     what          ever             find   out        today      on    the    launch          ok      No    not      lunch          launch        ha
ah




                                                                                                                                                                                    GCS-FTC_00000923




                                                                                               P1 Exhibit                       Page         00832
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Cool..




                                           other question                                            to              notes
Hey Nancy                     one                                           in   regards                     the




Some         of the               agents          are choosing                   more than                   one      drop      down           and       getting         dinged            for       it    The agent                 Is



choosing               br example                       cxl     acct        and        informed                customer            of    charge            Both         of    these            are        things        they are            doing
do you           think            they should                 be     dinged           forihat..                 was under                the     impression               the       drop-downs                     were         to    shorten

notes        and            errors.              what do you think


                                                                         has      been          added              to the    conversation
                                         gcserv.corn




No     one        is        getting            marked         with       this     as            strike         against        them          at this        point          butt          do want              to    see     an

improvement                        on      them using                only        the    correct              drop      down             note       The         first
                                                                                                                                                                             drop        down             notes         are     the        ones
we     put       in    based               on     what        GC      asked            for       then                       dded         most        of the        remaining                   ones         as per        WE          Answer
wanted                 So          ills        okto     use        any      of the          dropdown                  notes        if   they are applicable                             but     dont             use    them




ii   they are               not         applicable              Wen               asked            to     have        these         notes         put    ifl    the     drop        down                  was      not     aware                at

that     time          that        we          would     not       be      able        to   put       notes          unless         we selected                        category           from            the     drop        down          first

thought           it    would              be     optional




So     if   the        agent             chooses             these        to     drop       downs              and     then        adds          further        notes         to   clarify           this        would        be      wrong




If   so how                 do     we          give    one      priority          over       the        other Bascially                        how do they                   decide            which             one     would             be        best

or    correct




No          they         are        not        going     to     be       marked             with        an     error       for putting               drop         down         note        and            then     adding
additional                  comments                   as well        The way                   to    determine              which          drop         down          note        to    use         is    100%         based              on    what
they        did       and          if   the      note    fits        What  dont                      want       to    see     if   if   they send               email         with        return           instruclions                   but

choose            to        use         drop          down      note                   instead            of    the    correct           one




Okay         so        if    we         find     some         like    the        example             that           lust    gave         we      should          not     mark           them as                 error    like      india


suggests                    but     coach




Yes          for the               last        week      or     so and           up     until        mid       December                   lets     not     mark          them           with     an        error        for this          type         of


thing            we         will        mark          green        and     then        after         mid month               they should                 all    have            good           idea         of    what        note         to        use

and         we    will        start            marking        as      en    error           come          he        lath      does         that      sound             fair




                                                                                                                                                                                                                 GCS-FTQ00000924




                                                                                                             P1 Exhibit                    Page 00833
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ok     thanks         Other         then         that       they are doing          wonderful




Thank         you    we    are      trying        to    ramp up the monitoring                      to    catch         errors       quicker           and       address          and    correct




Sounds         good        No       dale given               to   me    yet   on    when       we    are        switching            to    the    Membership  There  is     few

changes         to   the    membership                       but Ida      not      want   to    go       into    it   until         get the          go ahead
                                                                                                                                                 final         and confirmation

that   lisa go               will
                                         update         you       as soon     as       can       So       are      you        all   ready       for    Santa




Yes..     and         have       been        extra          good




Yah     right         doubt         It     -Q          ha   ha-        have     been      too       so he        will
                                                                                                                         probably              bring      me      something             special




That     is   what         am       hoping         for




Hi




Hey     there




stepped         away       sorry




Hi     flAre               any      of     your agents              getting     questions            rrom customers                       in   regards           to    JTM    and       Oprah      story




  have        not    heard       of      anything.




Ok       great        we     will        leave     it   at that     then        Let    me know            iId    does          pop    its
                                                                                                                                               ugly     Fifile        head   up    and    become
problem




okay




                                                                                                                                                                                  GCS-FTC_00000929




                                                                                       P1 Exhibit                     Page          00834
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Sorry           one astthing..                   we    heard                         lesterday                 and     have            removed him from Tier2 and                                    issued

documentation                      already




Ok             sounds        good            have         to    assume           you agreed                with       it    then




Delinateiy..                 no    reason          for    0%


Actually                            just          minute              which      call    are        we     talking          about




Session               8766837               no    scripting            and     refund         5O%.             was         that        the    right      session




  have           to    have          peek         at   that      one                          was double                   checking               because           yesterday             on       session        9458300
had asked                 for     WtN       but    then        discovered            via                        hat        he     had        not    made           an    error           so   we     removed that
Let       me         check        the one         your speaking                 ot         will      be    back




Okay




Ok         you        got    me      on    this    one we               are     talking        about                                              session          U766837           rtght




 Hi                          found    the        session          you        referred         to    in    November                      It   was November19                         error      and         asked         for

immediate                 action           NWwas                issued on            Nov26               and         assumed                 it   was    the       end       of   that        So    that    is   why           am
      little     confused            with        your     message              today




 On       yesterday               report      for calls          of    Dec11             he        was     on     my        written           report         for   session          0458300           for not        giving

 proper              cancellation            number              then                      and            discussed               it    and       confirmed             he    did    give           proper        number
 so      the         mistake       was       to   be      removed




 We            had    listened        In    the    call        corrected         the     issue           and      explained                  that   if   there       were         any     further      issues         he

 would           be     removed              thus      why        he    is
                                                                              being      removed today                          we       found      further          issues         in    yesterdays             calls     that

warranted                 his     removal          today          THe         only      reason           we     listened               to    more       to   calls      yesterday             was     to    verify       that     he

 was           not    making         any         other     errors        foretting                 cancellation




                                                                                                                                                                                                   GCS-FTC 00000930




                                                                                                    P1 Exhibit                          Page 00835
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Sorry           think        confused          you..        didnt        mean          to




Ok        just      wanted       to    make          sure he           was       not    being          repremanded          forihe    error     on   the    session        9458300
when       it   was      not   warranted                   Thanks




ND Problem..




So   it
          you      have        removed him from Tier2                                   guess           should      change    his    status     in   Admin




Yes please




OR        shalido




Nancy            we     just   had           call    from         cuslonier             who       is   claiming      that   our outbound          call     center   is   harrasing       her

to   purchase            despite       her       stating         several         times        that     she   does     not   want    the    product.         her   caller    ID   is   stating

312-878-5613                   THe     call         was from chicago                    and     claimed       they were       Prerniurnwiile               Pro




Ok        let    me     look    into    it   and      get    right       back      to       you




Sure.           just    thought        you should                know




Hi                      Is                          with    you




 No she went                 home      for          second        will      be    right      back




ok        no     problem          It   seems          tome            she   said       yesterday          she     was sending         me      Incentive      information         for   both

 locations              hut     have         never         got   it




                                                                                                                                                                    GCS-FTC_00000931




                                                                                            P1 Exhibit               Page 00836
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Nancy         are      we      still    meeting            at   2pm



Hmni            wifi      check           what        are       your thoughts              do    you     want       to     have      conference          call




Not focus            we     are         good     thought               would    ask       in   case      you    alt   had     something          pending




 just        asked        Hernan          and         he    says       yes     so   we     shall      call
                                                                                                              you     at          Good   thrng     you     remember

always         forget




No     problem




Good          Moming




Good          moming             just     got    in




i-li                     How           are you    today




Good           How        about          you




 Pretty        good




 Hello        nancy




 Hi




   replied          to   the       email about              the    increase         in   refunds        and    what         Jam being       told    by   the      agents    is    that   it   is   due
 to    the     pending             blue charges                 that    would   not      clear     after      cancelling          ir account        that    the    purple        rebilling         So
 now         that    most        of     those     char9es              have   gone       through         they are          calting   back    with          cancellation          nunther           and
 we      have       to    refund




                                                                                                                                                                      GCS-FTC 00000932




                                                                                           P1 Exhibit                    Page 00837
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And       most        of    those        are      being       done    under        Tamaras        ID    so the agents               would        not    get penalized                 but       we     can

only      do    that        so       much




Hi                    Great            thanks          very   much     for   your     reply    arid      will    have          took       at   thee      mail
       _____




No problem..




Nancy




howdy




Hey there               Ijust          lorwarcied         you an       email concerning                the   outbound           sales..         apperently           we        are    getting

couple          of    calls          where      the     customers          are     stating     they    are      being    asked           to    update       their   CC         info       in   order      to

continue             with        the     product..            did    not   think    we   did    this    Am        wrong




Let       me    check            with        Hernan           they could       be    getting    nasty and          doing        things         they should           not       be doing              as   we
are       totting      them            go        will    be   right   back




Thank           you3




     am     stepping             out     for         sec..     be    right   back




     rn   Back




 Hi                    Yeah            Ihat     is   suspisious              have     asked     Hernan            and    the     Outbound              call    centre         is    not        aware      they
 are going                      be     down              road so they should not be doing                                                        butwe         are                 sure what
                       to                        the                                                               it   out    of   spite                               not                            is
                                                                                                                                                                                                             up
 lam        going          to    try    to    listen    to the call on the Outbound line and                            see    if   it   is    them    or     not       will
                                                                                                                                                                                   keep         you

 posted




                                                                                                                                                                         GCS-FTC_00000933




                                                                                      P1 Exhibit                Page          00838
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Nancy..




never     mind            got    it..
                                        sorry




       love     short         stories         ha    ha




Nancy..




Sorry           am      going      to   have         to   ask         you     after    alt




Nope          it   is   too     late




  have             mother         calling      about              son        that     ordered            the        product         He entered                his    year       of   birth    l92       never

falsely       represented               his    age        but     since        the     website            never         asks        for       specific         dale        or    month        the    son     is        still




17 She             wants          refund since the website                                in    the    terms          and     conditions              specifically          states            The     Site

Membership                 and/or       the        offered        Premium              WhiteTM            Products             are        available           only    to   individuals




that    are        at   least     eighteen           18         years         of    age        and     that     can     enter        into        legatly      binding           contracts           under

 applicable             law       therefore          them        is    no    legally           binding         contract        and        wants         the    refund and               the    cancellation




  was      going          to    refer   them         to   the         bank     or     cretht          card      but       thought             would           ask you           first




 Hmmm                   think    she should               kick        his    ass     real       good      and         take    It    out     of    his   allowance                Ooppss               guess              lam
 not                       to    say    that        just     kidding                Well       what      is    it
                                                                                                                    anyway                 membership                 and            would     assume             it     is
        suppose
          the                   trial
 past                   day




                                                                                                                                                                                             GCSF TC_00000957



                                                                                                 P1 Exhibit                        Page          00839
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yes




 will        get back                to    you    in     moment             can         have        the   ecc        nurnberto       look     at




let     roe       get        it   aria     rwoment




PPro Cxl                             977575            under    flneiii




Hi                           The mother                must    be    over    18        and    if   she     is   the cc      holder      then       she    is
                                                                                                                                                               responsible      If   it   was
before            the             days          was over       the   membership                    would        be    cancelled         but    riot     now        they best   make       the    best

of     it   and         order         some product




The son                 is     the       card     holder




not         the      mother




      tied        that..




LOLD




Hmmm                    the       plot     thickens




LOLD




Ok            lets
                        go        with     this    then        Anyone        under           18 would           not    be   able   to   get        cc    without       cosigner           Voila
Momma                   again              If   she    co-signed       she        is   responsible




 It    is         debit           card     with    the Mastercard                 logo..       17    yr olds          can   have   these       without         parent signatures.               tried

 that        as      well




                                                                                                                                                                          GCS-FTC_00000958




                                                                                                   P1 Exhibit                Page       00840
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Mom         is
                  way         to    bright            330         in   the   afternoon                     .L.OL




Is    Were              way         that        in    the     future         we        can           ask    for the            dale and           month         to    avoid         this..       while        you    think




     do   not      foresee             that          we     wiD        ask   for          Date        of    birth     because they would                             jJst         lye   any      way     if   they    wanted          it


We        are     going            with        the     assumption                    that             debit       card          is   not          visa    and        there         fore    is    not     covered          under      what

ourWebsite                    states            about          having           to        be     18         lIthe       17      year       old     has          debit        that       automatically               swithes         over    to


MG        when           he    is    overdrawn                         someone                  must        of   co       signed           for    it




We        wilt     not    be        refunding




Cool             wilt
                         explain               that    to     the       mother             and        it   she    stilt        has         problem          she         can        go     back     to    the      bank




We        will     however adapt                            our statement                       to    cover       situations               like    this    in    the     future            Hernan             says    he     will   have
Simon change                         it   to     basically              state        it    is    assumed              you        are       18      or the       onis         is    on    the     card      hold      to   be

responsible




Ok         sounds              good                                We     have            to     draw            line       somewhere




No        problem..                  just        did        not    want         to     be       the        one    with         the     crayon




No        problem                    have              big        black      magic               marker               lot




Good             Morninpi




Good             Morning




How         are         you        today




Good             Thank         you..             You         all   packed                 up    and        ready          to   go




                                                                                                                                                                                                              GCS-FTC_00000959




                                                                                                                 P1 Exhibit                       Page          00841
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sorry       went      to     lunch          will     be    in    my      orfrce         when         you need               me




Hi




Flay    there




Have           question             alter   yours




Oh      what         the     heck         yu      first




Hernan          sent us        the     new carp             office        address.                   so   where are we               then       located             Also since          it    states

Colesdale            LTD        as    the      corp       name           is    that      the        name      of   the       company            as   well      or    still   the   name         of the

product         we     are     cancelling




That        name       is
                             only     for legal           purposes                 but        any    product        still
                                                                                                                             being      relurned          is   to     Aurora        Still      use     the     name
of    the    product          when        cancelling




Done.           thank        you so         the     corp        office        is   UK we             are aurora and               the   name         of     the      product       we        cancel         Thank
you     lust    making          sure Now                   your     tom            13




     sent you        an      email          just     wondering                if
                                                                                   you got           it   and      also      is                 in
                                                                                                                                                     your      office        as she      is    not     on    line    on




yes         sorry    still
                              doing       team calibrations                             let    me     check        my       email




No     rush1         \Miat      are       team       calibration              anyway




we     have         unit     managers monitoring                          calls          So     to    make         sure      we   are    aill    grading            fairly    we come           together            as

group         and     listen        and     discuss         calls




 Oh          see        oX      sounds             like         good      plan




                                                                                                                                                                                    GCS-FTC_00000964




                                                                                                P1 Exhibit                       Page 00842
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always          want         them        to   get anything                        they can            in    the way           of    the    incentives                     It   is    not   their        fault   that       things        are

slow          Do you             think    we              should          lower the hours                    needed            to    quali             perhaps




Is   it
          snowing            in    El    Paso              again




Last        ntght..         elpasos             should               go     out     today..           0KG          are    the       ones         wading              through              snow        and     ice




They         have       had        some              snow            days     the       problem              is   their   payroll          dept           is    slower              in   turning        around         the

iriformafon                 to    us




Crazy         wealher              eh           If
                                                          you     think       that      we      should            lower       the     amount             of     hours           needed           to
                                                                                                                                                                                                        qualify       for incentives

or     have      any othersuggestions                                       as    to    how we              can    work        around             this    slow            time           please         forward        the       ideas         to

me        and       will     see         what               can       do      Jesse           is
                                                                                                    pretty        good        when        he      is
                                                                                                                                                         presented                  with    the       facts     and        he    likes     to

make sure               the        Agents                 are    taken        care        of




No        problem           will    do     today                or    monday             morning                  they    will      appreciate                 the        consideration




       ok




Nancy         we       discussed                     it    and       what     we        are        think     is    30   his        for the        month          of       Jan       and     20     hrs      starling         the    1st        of

feb..        due       to    the    workiorce                     reduction              and        the     part-time          status            of    remaining                reps        Wiat         do     you    think




Let       me work            on     the       50           hours            week          for      January          based           on    full    incontive                of       GO.O0        week         with     no       errors

and       AHT at                  minutes                 and        then     we       wifi    see         what     happens               come           February                   sound        fair




that        sounds           good         for february                      we     can        cross         that    hurdle          when          we      get        to   it




Hi




 Good           Morning




 Good           Morning                                     on       Friday        when            we were          discussing               the       incentives                   and     changing            to    30     hours        to




                                                                                                                                                                                                              GCS-FTC 00000975




                                                                                                            P1 Exhibit                     Page 00843
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qualify           did    you        think            that      approved                   it   at     30   at    that           time




No..       we     said            would              give    you           little      time           to   work            on        it    Was              incorrect




No         that    is    correct                                                                 thought                  was approved                            already          No       big     deal    at   the      momemt
                                                     guess                                                           it




am        waling        to     talk       to     Jesse         on     it            did        menlion           it       earlier              today        to    him     but    no     reply       yet          will    look       at   what
she       sent     and        print       it
                                                off     and       present            it    to       him    and            see        where             it   goes        from     there




No        problem..                will        let    anna        know




It   is   ok      she        already                 knows        because she brought                                      it   to        my     attention              that    she     had       lumped         the     gun          so

 please         dont         make              herfeelanyworse




 No problem




 Good        Morning




 Good          Morning




 Hey                              am      listening            to    some            calls          and     it   seems                    to    roe    that       the     few      have           listened       to     the    Agents          do
 not      seem          to    be    aware              of   all     the    different                phone            numbers we                          have       or    how      to      locate     accounts                Have           they

 been       trainned               on     the Product                 Search                   Unic    and       do they have                            updated           lists      of   phone        numbers               and

 descriptors                 we     have




 The       link    is    not       working              with        any     of the             new telephone                              numbers                that    were      added          and      the    ones         that      are


 present           are       not      always            working..                    explained                  to        Heman                last    week         that        we would            use    the     old        way     till   the

 product           phone           search              was corrected                           Sorry         forgot              to       update            you




                                                                                                                                                                                                                 GCS-F1Q00000976




                                                                                                           P1 Exhibit                                 Page 00844
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Do      the     Agents                 have            list     of the           phone            numbers               that    appear           on     cc         with        the     descriptors




Hernan             has          not     updated             any           of    the    credit          card        descriptors             but     they have                   the         old     ones.            but    these        are    of

no      use     if   the search                  does           not       work




Hmmm                  So we have                     some            agents           using         it     and      some         not        by    the        sounds             or     it        Perhaps            pull    all   of    them        off

of    it   until           is     working            proper           then                 ann going              to   forward         an    updated                   list    of    all    our        phone         numbers and                the


decriptors                   Can            you perhaps                   copy        it    and     have           each         agent       have        it

                                                                                                                                                              posted            in     their       cubicle           so     they are

aware           of    our         numbers




     checked           with            Heman              and        yes        the        link   is     stilt    not working              proper




     em     thinking              it   is     best    to pull             up the accounts                         without        using       the       Product                Search              Link       too because
yesterday                  Gaurav brought                        another               account               to    our    attention         that        when            you         use      the        link    shows
                                                                                                                                                                                                               it                 the     cx

account              with         one         charge            but        when            you      go       through           the   old    way         it    shows             there            are     actuafly            charges




We         have        asked             the agents                  to    not    use         the        product          phone         search           for       now         but         since        we     have        some         agents
that       have        not         taken             call       in         week            due      to     manadatory                time        off    some              of    them are                 using       before       we can
catch         them.                    will    mako sure                   to    readdress                 the     agents




Oh          sounds                good                          thanks                fly     the        way           were you sending                           me     the        purple         monster            or    did        dream
                                               ______
it




Yes        sorry           witl       do      now



        thank         you




                has         1iscussed                                anything              with     you           about     agerts          who         are        being            laid     off       on    the    15th




 yes       we        are        laying         off
                                                     quite                few




 Sucks          oh          Sorry             that   it   has         come         to      that          So what           is    being       used            to    determine                 who            goes     arid    who        stays




                                                                                                                                                                                                                    GCS..FTC                        0000977




                                                                                                                  P1 Exhibit                 Page 00845
                                                                                                                                          ....
.-.L.-.........................h


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            Hey there                sorry               was            getting       my         eyes             checked




            oh      hope             all    went             well              want         to         say        lam        not        rushing you         on    the     manual        you   have     for the     Adi-nin       but

            that   would             not      be         true              am     being                asked            if   you        could    send       me   what      you     have       Old    or   New




            Sure    let       me      send               the       old     one        now              and        the        new    one        when      done




              am    going            to     look            for    it    and      send




             Ok     thanks                   lot
                                                                            appreciate                       it




             Hey    there




             Did   the        new          list        of    phone          numbers                    get        posted           to    each      cubicle




             lam    stifl       listening                   to    calls     where            Agents                  are      asking           for the   toll    free     number and          then    the    person      gives     it




             and    then            they          loll      the     cx     no     thnt           is     not       our        number




             The new numbers                                 are         posted        in    the         Purple               monster            and     can     post      them    in   the   cubicles       if
                                                                                                                                                                                                                  you would       like..

             do you know  the               if
                                                             agents            you have                  heard               have        been     0KG       or   El    paso..     either      way    twill   make sure 01CC
             has gone               over           everything                  with     their            agents..               one           minute




             this particularcall                            is    El     Paso         and         it    is    agent                                               session        11532160           from February




             She    is      still     using              the      product             search                 link       and    is       not    familiarwith         the    numbers         or the    amount        of   charges         by
             the   sounds              of         it




             To be          honest            we            are having                 problem                      with      this       rep and       we     are     placing     her back      in   training      due    to   her caD




                                                                                                                                                                                                             GCS-FTC_00000984




                                                                                                                               P1 Exhibit                   Page          00846
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qualify




She      has       come             out        on    the     report        alot    and         had       GA   listen        to    more          of   her    calls     and        as       result      we     are


putting        her back                 into        training.            she      had    to    many questions




OK        hope           It    goes        well          thanks




      hope    for    her sake                  it   does..          not the time              to   be    making        to    many           mistakes




that     is   for    sure                 dont           recall     her        name     previously              is    she        new




Mildly.-           but        not      that         new




Nancy..




Nancy               was          making              sure       with                about          the   training       for                       but      just   was reminded                  that    she        will   be

 one     of the          ones             leaving           us Shou                   retrain       her   anyways                to    keep       her on        the   phones             for   the    rest    of    the

week          or   Should                  make            other        arrangments                for   her




 If    you    could            have        QA        coach          her on        the    errors          lam sure           that       woffid        be    sufficient             If
                                                                                                                                                                                       you     feel   that    would         be

 the     correct              thing       to        do      would          agree




 No     problem                 will      do




 And                           dont        stay          late      or   work      too    hard       hying       to    complete              the      trainning        manual             for   Admin system                    If




 you     guys        could             complete              it    on     Monday         that       would       be    great            We       have       an    employee working                      on    putting

 together                     manual            for the         whole          admin     system           and        he wanted                  slarting        point so we were                   trying      to    pull   in


 anything           we          could          from both                call   centres             But    dont want                   you   and                             to    fret




                                                                                                                                                                                               GCS-FTC                    00000985




                                                                                                     P1 Exhibit                       Page         00847
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over    it




No     problem..               will    still    get    that    to   you    asap        monday




sounds        good




Do      dare       ask    if   you       had         any    luck    starting      the   printed     format       of   the   purple   monster




 have        and     the white                 monster..           Haha    is   also    coming          along    The mentership          is    easy   it   is   the Old

                  that    is                    ne    white        hairs   13
Scripting                       giving




sorry        me    white        hair       ID




Have          blue       monster




Nancy        sent the wink                     BIu     Monster




That    was        great..            needed          the     laugh    today




Hi




Hi                 Are         you     around          today




Good         Morning           fl

Good         Morning..            Sony           about       yesterday           Had     to   go   to   the     doctor




                                                                                                                                                           GCS-FTC_00000986




                                                                                        P1 Exhibit              Page        00848
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No     problem                   hope       you      are    feeling           better       today




                  have      questions               for    you




Had my             yearly         check        up    and     told            have      High         Ulood         Pressure




OooH              that     is    not    good         so     did     they       put     you        on      meds         or are      you    working           on      getting        it   down         yourself        Ills


not something                    to    loot    around        with




Meds         and        new diet




Youch  well good luck with it                                     it   is    herd     to        believe        but     diet   does       play          large        pad     in    high         blood    pressure
know when my husband lost 30                                           lbs    his     bp    went down                  and    he    was        able    to   get      off   one          of    his   meds     Stress

is         real    factor        too           guess        you        probably            know         alt    that      so     can      quit     mothering            oh




     appreciate             it




     have      the      paper          version        done        and          will    send         today




     am     thinking            that        need      to    do         change          to       the    script         or protocol        on      the   agents         telling           cx    to    chargeback
am         wondering              what        the   best     procedure                would            be       Wiat          would       like    to   do      is   have         the     agenis        forward       any
legitimate              concerns              about        refunds           that     have        not        processed          but      show         they have            on     the        cx    account   and

also        relunds          that      are     legitimate              hut    admin         says        TNR




Sorry                            do    you     mean         the                     version           ol the      script
                                                                    paper




yes




Wow               great




\Miat             had      done        to     alleviate      this       was         ask    that        all    cx accounts             not   receiveing              refunds             be    transferred       to   tier

      to   avoid          ctiargeback                being        said         This        is    why         rajeev     has had          the     unending            mess         of     nonprocessed




                                                                                                                                                                                             GCS-FTC                    00009 87




                                                                                                   P1 Exhibit                   Page 00849
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refunds         lately




Has      there       been            lots    that       have      been          sent    to    Rajeev               that        have         not    had           cc    on



Yes sorry Heman                             asked        nie    to     forward          all   of   them       to       rajeev           assumed             he        had       told    you         will   lorwaiti         all


the ones           we      have         sent along              with       the taxes                apologize                   forgot       you     were out              at   the time




         will      CC      you         in   the     future




as     well




OK        please           send         roe       what         you have           sent him          so far                know          seen        one          mail        you        had    sent and            dealt

with     them myself and                          messaged                you     on    those        ones              So are they mostly                    to       do    with       the    refund       shows       it




was done             on        the     system            and     yet      the     cx nevergot                it        and     also     refunds           that    are        being       attempted           and      the

system          states          TNJR




Yes. we              are       getting           alot     of    these       and     so     Heman             had        asked          us    to    just    forward           them        to    rajeev      since      he
had      access           to    the merchant                    accounts           to    check          on    them and                 email       the    clieni       with            response




The      majority          of        these        calls    have           also    faxed        us    in   the          past    so      we    were         sanding           the    faxes along             with      the

request            for   refund




  also        have        access            to    the     Merchant               accounts           and           am     thinking           that    since             have      the      th-ne     right   now
could         be    searching                these        too        So          guess        you    have               process             going        right   now         where           the   agenls      are

giving        you        the     details          on       day       to    day     basis       orwhat




Sorry..            Yes         as they           het     them we            are    turning          them          in    to    rajeev




since      we        have        an         over    abundance                of    agents          we     have          them        typing         them up torus                   to    send




Ok       sounds good                                       so do          you send            them daily




                                                                                                                                                                                               GCS-FTC 00000988




                                                                                                   P1 Exhibit                       Page 00850
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Can you cc                           me     on      them from now                         on    and          will    work           on        the    issues       aswelL              Meanwhile                 will      do    up         new
protocol               so        that        the agents                 are         not    telling      cx    to     chargeback                      any    more unless there                       is    no    other          option




I-il                        Can           you       find            recent              email        that    you      would              of     sent Rajeev              in
                                                                                                                                                                              regards         to        refund issues                and    then

forward               it    to       rae            want         to    see what                they     are     noting              in       cx account           when        they       deal      with        issue




No       problem..                      let      me       find        some              One sec




Ok            thanks                   the     one            did     get          and    dealt       with      already                 is    from    Feb 2nd            and       the    first    Customer                name        on   the

list     is




Okay            let        me         check..             see         what              have




                                If        customer               is
                                                                       calling            about       duplicate               charges               and     is   going        to   fax    the      details       to       us    do
 I-li
                                                                                                                                                                                                                                       yo
 want               tier              agent          to    get        involved             or   do we         Keep            it   at    tier        level




       would          say            we      should           keep          ii     with    Tier             Only      because                   they can          verify      the     need         to                relivanL




 what          do       you           think




 Otherwise                           think       the       agents                will   lust    have        everyone                faxing          and     then        we     will    have        an     issue        with     faxing




 ok           thai         is   what we                will      go    with             then      transfer          to    tier               who     will   then        inform        the cx       to     ax    it   to
                                                                                                                                                                                                                          you




 yes          if   they              feel     the      fax     is     warranted                 My     only         suggestion                  would        be    to    add       some         perameters                for   customers

 taxing               ic             double          biting           duplicate                charges          transaction                     reciepts         for post          office       etc.




 Sound                good                   will    send           you          what          have     typed            up        so    far for      your imput




                                                                                                                                                                                                                GCS-FTG_00000989




                                                                                                                                                                  00851
                                                                                                                PlExhibit9Page
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Hi                    thanks            for the              mail        Holly     smokes               is   that            typical        clay         or    is   that         weeks           worth




That    is    about           three        to    two        days




Ok     so     is    that      how        you would                 forward         them         to   Rajeev             in    that      format




yes unless we can                           find            fax    they     have         sent        Then          we   add       the        lax    when            we       can.      but       last   week we            had
more of these cafls                        than        we         have      had     in         while     and        thus       the     reason             we        did    not   try   to    match        to         fax




Ok      sounds             good                               guess         for    today we             bettersend                   the     fax     to       the    India       team       to    start   on    as         wilt

not    be     here        for the          rest       of    the     week         and  Monday-                 if
                                                                                                                   you could                cc     rue    on        any refund          requests           from       now         on

and         will    wodc           on    some          of    them        too       when  can




No     problent.




Thanks                              Just        to    re-cap              will    be     auLoithe             office         as   of    noon         today           until        am    on       Tuesday         the       lGtlt

Rajeev         will      cc    you       on      the        error    reports                            can        continue            to    send         ACR         reports          tome        daily       but    she

doesnt             have       to    cc     Herrian           this    time              will    catch         upon       the       15th       with        you        alL




Good         Morning.                   How          are    you     doing         this        morning




You were              missed




Hi    _____              am        doing        good         thanks              How      are     you    doing




Very        welt      thank         you



Well     that       is    goocL            So anything happening                                that     should              know        about            or    has       it   been    nice        and    quiet




                                                                                                                                                                                                  GCS-FTC_00000990




                                                                                                     P1 Exhibit                    Page             00852
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Nice         and                   calls                 worse            but     other       than       that
                    quiet.                    little                                                             everything           Is   hunky-dorey




  am         not    sure    if             sent you the                Incentives             for the       month ofjanaury yesterday                                 If    she        didnt    twill    make
sure she            sends         those     out    to    you        immediately..                   we     aretrying to get them paid out                                 to the       agents    laidotf

with     their       last   check          Can          ask    that       that     be     first     on     the   pile   you     probably           came            back     to




Sure           Not          problem           will       check           my        maus            right   now




THank              you




Hi      fl               For the     El     Paso       Agents            the    most recent                Incentive       information              is   for   the        week         ending    January
22nd          Just       so you      know where                it   is    at




Thank          you          wHI    have      send        the     rest      this     morning




Hey          there




I-li         have        asked      several        times         for                                               be    re-trained          and        everytirne               get    an   ACR        report
he      is    coached               have     then        asked           for    him      to   have         WW     and     tcday            see     he    is   on    the     list   as coached             again
If             like         can    send      his       history       to    you        But           do want        him    off   the        floor   today       please              Unless       someone
       you
can      give        rue      darn     good            reason        as    to     what        is
                                                                                                    up   with    him




Let      me check            into    it..    one       see




OR           thanks




Hey Nancy..




                                                                                                                                                                                   GCS-FTC                  00000991




                                                                                              P1 Exhibit                 Page 00853
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Nice        and     quiet..         calls          little    worse            but    other      than      that   everything           Is   hunky-riorey




 am         not     sure    if     anna        sent you           the        Incentives         for the      month      ofjanaury             yesterday              If   she        didnt     will    make
sure she sends                     those         out    to   you        imniediately.                we    are   trying    to   get        them paid out             to   the        agents    laid-off

with        their    last   check              Can          ask    that       that    be     first   on    the   pile   you     probably           came        back       to




Sure          Not           problem                will      check           my       mails      tight     now




THank             you




Hi                      For the          El      Paso       Agents           the     most recent           Incentive       information              is   for   the    week           ending   January
22nd          Just      so you           know          where       ii   is    at




Thank             you       will        have      send       the     rest      this    morning




Hi
Hey there




Hi           have       asked           several         times        for                                           be   re4rained            and        everytime              get    an   ACR        report
tie    is    coached                    have      then       asked           br him        to   have              and     today            see     he    is   on   the    list   as coached             again
IFyou         like          can         send      his     history        to you But    do wail  him                       off   the        floor   today       ptease            Unless       someone
can         give     me          darn         good       reason          as to what is up with him




 Let        me check             into     it..    one       sec




 Ok         thanks




 Hey Nancy..




                                                                                                                                                                                     GCS-FTC               00000991




                                                                                                 P1 Exhibit               Page 00854
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Hi
                   yas    termed           by us                 ast    thursday          after        retraining.               he    was     just    not    cutting    the   mustard




OK          just     seen       him coached                       on        the   10th      and        that    is   as    far    as      had     AGH         reports    for Thanks            forthe

info




No    Probleni..            we      did          bit        of    house keeping                   in    0KG         and        there     are   more reps we              termed        will   send     you

updated         roster         of   agents             in    OKC     and  ELP




ok      sounds         good          thanks




Hi




        there
Hey




sorry       stepped         away          to    check              the       floor




No     Problem                 was    just        going                to   ask    if
                                                                                        you     distributed              the     ndia        team     report    from Rajeev           today    for calls     of

Feb 12th                 lust sent         them             out        now        incase        you      hadnt




 had         think       they       ore        finished            and        doing       the     coachings               now




Ok      but     that      seams           fast         They             were      just    bays                mali




todays             mail




     sent   them         out    before Sam..                       theyve            been       working             on    them         for     hours




Ok      great        thanks               have              not        looked        at   them yet                  got                             email       with    incentives      for     weeks




                                                                                                                                                                                     CCS-FTC_00000992




                                                                                                   P1 Exhibit                      Page        00855
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No     prcblem                      apologize                 was under              the    understanding                     that      the    india          learn        was refunding throuQh                           the

merchant              account             with              simple         click    not cheques




Well      ft   is    more       detailed               then        that      They         were dealing                with      all    the     refunds            back          in    Decemberwheri                     we     first


had     the         big   issue           with        the    re-bill         but since           that       passed            they have                 not    been        dealing          with        it

                                                                                                                                                                                                              any     tonger as

per    instructions                  they received                         just     heard        about         it
                                                                                                                    rnyselQ




There          is    more            Due         to    the merchant                 account            problems            we        are having                 even        refunds          that        have         been

processed                 in   the        Admin system                     for legitimate              refunds         by     the      Return            Department                   are not      actually            going

through               So those                 customers             which          are    calling          now        will    not      be     getting          refunded               by   cheque             either          We
will   have          to    have           the     agents           tell    them      to    contact           their    bank        or    cc     company                to
                                                                                                                                                                           proceeed             with          getirig




their     refund                am         doing              document up                  but         thought          should           run       it   by you          tiraL         Maybe             shoud          give     you
     call       Are       you        at
                                          yourdesk




Yes




would          that       be    ok        to    phone         you         instead         then




Sure..              No problem




Good           Morning




Good           Morning




 am looking                    at the             mail       you      sent         me     about        the     double         charge          for       membership                    in   account

VSKN                                                    and    lam wondering                      if   the      customer              actual         stated        in      the conversation                     that    hehas
two       charges              on     his       CC      It   does nd really say                        in    the     notes      if    that    was            stateth            am     trying      tc        figure    this    out

at this         end




From what                  ONC            explained            to     me when             they      called          they      stated         the        customer           was         upset       about              double

billing        and        then        when            the    agent          looked        they     saw         the    customer                had       to    charges            in   the   admin             as    well      but

they could                not       refund            due     to    the     TNR




                                                                                                                                                                                                   t3CS-FTC_00000995




                                                                                                       P1 Exhibit                     Page 00856
                                                                                                                                                                                                           ..
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Yes          am         still
                                   trying             to    read         them.              but      they look                good        so     far




Ok        sounds good Already one change                                                                      lol        On      the     Auto      Replenish             Membership whih      am going to
referto      from now on as the ARM there                                                                is
                                                                                                               going           to   be           14 day        trial     So only fornew customers  will there

be        14       day           trial      and            theywill             have         14      days           to    be         member              and        ilthey    cancel       before       the    14th       day        they
will     not       be      charged                    $14.95             For    the        50     bids        they        got       as    ARM            If   they dont           cancel




within         14       days              they             will     be    charged                 on    day         14     and         then      every         33     days    after      that




Sounds              good..                will        you         email         me         this just to             keep               paper       trail




sure               can          re-send the                       same          document                  and        it   will      have        the      change         on   it    This     project      is   coming            up   faster

then         originally                planned                      so    we need               to     get      onto          some          scripting          to
                                                                                                                                                                      stay   ahead        of the    game            So      am       going
to     start       some               this       morning                 and       basically             just        follow         the        layout      we have           for   all   our    other    script          Will    you
have         limo today                     to     work             on    any         of    it




  amyouis                       all   day..




Did you             need              roe        to    start        the     process               to     activate              any       tel    numbers




  will       get    you            the       answer                 to    that        question                 be        right      back




Hi                          We         have                  list    of   spare             phone             numbers                  so      1-teman         will    choose       one     and     then      tie   said    lie      would
let    you         know               which            number              to    activate




THank              you             will      let                    know




In     the     mean               time        let          me know               if
                                                                                      you need                anything




                                                                                                                                                                                                           GCS-FTC_00001                      007




                                                                                                                     P1 Exhibit                         Page 00857
                                                                                                                                                              %.



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Ok      thanks                            am          looking      at the    Membership                script      that    you     sent     me    printed           version              which    by
the   way than               you     very        rnuctt           am      using    it   as     our template          for the       Swipebids             to   see   it   it   works      pretty

good




Quick       Question           if   the    customer               uses     the    50     bids       before    the    14     days     do they        still     get   charged




Nope          they    will
                               only       get      charged          the     $1.00       processing           fee    and      the    50    bids    they got          for the      first     ARM    will


not    be     charged         to    them         it    they cancel          within       the    14    days         good      deal    eh          think        twill just join         up   end    then

cancel        every        otherweek                    ha   ha




That    could        all
                             change         in
                                                        very      short     time        but    for   now     that    is    what      am     being           told




That     is   what         thought              sounds          good        already           used    my     dollars        worth    and     cancelled




Hi                   We       are     running                few    minutes        late       for   conference            call     here    we come now




 No problem            will     relay




 Good         Moming          ______




 Hey there




 Hey                    How         are you            today




 Good         how    about          yourself




                                                                                                                                                                              GCS-FTC 00001008




                                                                                          P1 Exhibit                 Page          00858
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Ok       thanks                Heman                put    togethera                script        that    he sent        me          and        have      been        playing          with        it    Do     you       want
rue     to    torward           what he               did       to   you        so you           can     have          look      at    IL




That         would        be great.




OK           will    forward            it     to    you        right         now




Thank         you




Hi
       ____




Hey      there




How          ya     doing




 Good.              lunch       was          great         too




 Ihave         updated               my notes                     tUlle        on   the     Swipebids             that        sent        the     other      day      so      will          lorward       them           to   you
so      you have               the    little        changes               too        The         most    important            change             is   about     the    way           the     customer              is    charged
 in   the     ARM          program                   It   is         little    tricky            they get       their    first       50    bids       when      they    sign          up     and        have       14     days      to


 cancel           the     ARM            if    they dont                  then      they         get    charged         the    $14.95            on    the     14th




 But     also        on    the       14th           or    15th       day they             will    get    their        next 50         bids      deposited          to their          account              but      the    charge

 for    those           next     50     is      not       for    30      days       from         that    date          so they get              theirbids        deposted                  but    have        30    days      to

 use     them before they                            get        charged              Let     me know             if     have         confused           you     more            It    is    backwards               to


 receiving              product           hecause                we used             to     charge         the     day we ship                   but    this    way they get                     the




 bids        and     pay        30    days            later




 Sounds             good..           but       it    they use                 their5O       and        then     cancel        wiJI     they be         charged          for   what           they       used




                                                                                                                                                                                                   GCS-FIC 00001009




                                                                                                         P1 Exhibit                    Page           00859
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V1en       they are        in    the       trial    period             if   they cancel                they       will         not       be    charged             for the         first      50        fills        past   the

trial
         period     then    they           will    be     charged




Great      thank     you




They do not           get charged                   based         on        what         they        use        they           get       charged               $14.95      regardless                   of    what       they
used Once             they purchase                       the     bids        they are               theirs      to     use          even       if   they cancel




Even       iflhey     cancel               they      stUl      have         the     bids        in   their      account                  and    they       still    have           access          to    them           they    just

have       cancelled        the       ARM           so      far   the        login        and        access           still        remains           available            to   them so             that         if
                                                                                                                                                                                                                     they want         to


use the       bids    they can               and     if     they want              to    come          back       and              get    more       bids          they    still     have        access              and    can    buy
Bid Packs           at that      lime             Their        access             arid    login        are      never              cancelled              unless




they personally               go      into        their     account           themselves                    and       de-activate




Hf




Hey       there




Hi_____              just       got    re-educated                    on     the     changes               to   Swipebids                       so most            ot   the        scripting             sent and           the

notes       are     wrong        You         may want                 to    take           brain       break            and         give       me some              time       to       get     my      notes         corrected

and       re-sent     to   you




 No problem..              nature           of the        beast@




 yup         will   re-send           in    the     next        hour        orso




 Thank       you




 Hey      Nancy       we    just       got          call       that    was         escalated               by           agent            to    the   supervisor                and         on   this          call   the


 customergives                  the    name             mike      stef       and         that    they        wanted                to    cancel           an    account            with       credit          card      number
                     underthe              name           of    Szymon              Kiebyk             we       tried         to    get       more        info     from        them since                it   was       kinda     fishy

 to     us since     make          would           just     cancel           an     account            test       or          otherwise              if   there         was        an     issue         Do        you




                                                                                                                                                                                                     GCS-FT                        00001 010




                                                                                                P1 Exhibit                           Page 00860
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know         what           he    was        trying            to    do     we      could            not    help    him    other than        to    25k    for        tele     to   call   him     back    at    and

he    would               not provide




Not         aware          that       they were                 testing             but          will      get an    answer foryoc                 be    right      back




Hi                         There        is    something                     going         on      butt       cant    get        confirmation            yet        Heman     is   going    to    check        once

the     guys          get        off the           phones            who are              in     question           Sut    forsure      Mike        and       Szymon        are    from here




             find         out    who     was being                       rude       though




No      one         was being                rude          we        lust     could            not      issue relunds           and    we   thought           it   was   weiffi    it   both    the    guys     have
access              to     refund thenselves..                              and           know          mike       probably      has superadmin                    access




     really         dont         know        for         sure what              the       heck          they are up        to     Do   you        have    the       session       number              would     like

to    listen         to     the       call




No      but         let    me     hunt        it    down




     just     seen          you sent               the          mail           so         will       read    it
                                                                                                                   now




lam          also          gonna        Forward                the        call..-
                                                                                      just       one       second




thanks




Hey                              Is                      away            today




 No          have           her chained                   to    her computer                      monitoring..             Hahaha




     will    tell        her     to   login         if   she        is    not




                                                                                                                                                                                          GCS-FTC_0000l                DII




                                                                                                            P1 Exhibit                            00861
                                                                                                                                      Page
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Oh           see         Yes she          just       did    and    she         just    sent     ACR            reports       too




Hey                           found      out         what    the    phone             call   was         about         Simon got                his         cc and        it   had      bunch     of   charges
that     they were             checking              on They            did     not      realize         it    was one          of   your         numbers                that    they   called    as    it
                                                                                                                                                                                                             was     an

old    descriptor               The agent              who        took       the     call    did         100%          job    on     the        call        so    we     appreciate       it     Sorry       for   the

troubles




No       problem          just      making           sure     someone              else       did    not have            our       credit        card         into




      thanks           arid    please          let    the   Agent        know          she     did             good     job




  will      and        thank     you




Hi




Hey         there




Have you                been        on   the     Swipebids              site    to     see     how        it   works




Yes            bought         the    dollars          worth       and     thought             was        greaL.              dont        like     to        lose   so     the    site   was made             for   my
OCD          personality




so     at    the       time    when       you selected                  to     purchase            the        $tD0       sampler           pack             did    it   offer    you    the    Auto    Replenish

Program




No       not    at the        lime        should            probably           check         though..            but      did      nqt     see         it   was         offered      ut   then     again           may
be       one      of    those       angry        customers              calling         Customer               service




                                                                                                                                                                                         GCS-FTC_00001                    012




                                                                                              P1 Exhibit                     Page           00862
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ok      great thank




              Are      you      103%              sure       that       when         you       were on                the   website          to     registerthis         time      in    Swipebids                that    you
moved         that     big     red        arrow       up      to    the        top   to   the        Sample Pack                    for     $1.00




yes..     betive        me          did      not      want         to   pay        the    150.00            despite           it
                                                                                                                                    being         refunded




Should          have         read         the       terms        and       conditions                  LOL...hahah




       you     dun ass               read           the    tic     eh           Just      kidding               Did you            also     clic    to    Continue       to   be     on the Replenish

Program         too




LMAD..               follow        directions              very well               or so            like   to        think...LOL




Right          just     had        to     determine                what         LMAO           was again                     thought          you were            cussing        me            lol     You        are

correct         you      are       out       of     bids     and        on      your account                    it    has   duplicated              your $150.00              purchase                 Are    you        sure

you     have      not    just        been           hiding         out     bidding             and     winning              We       will    get      those       charges        taken          off    immediately
 will    message              you         back




Tell                    said       thanks            forthe         free        bids           ha    ha




No      problem..            LMAO is                laugh          my ass           off    avilI                     love   the     news           of the       refund   since      it   was          his    card But
the     Ipod    is    mine..    LOL




Only     if
              you      agree         to     ship      roe        the    coffee           pot




what           mess         this     is     right     now           Just        grin      and        bean               lam        working          on      your Swipebid            account                and    also    on

getting        the    Swipebid               to      come up              in   yourAdmin                    There           was       nothing            that    came    up    when            you were

registering            on     Swipebid               that        may have                caused             double            charge          was there




No       pretty       much           loft    the      site       after       the     charge           and         no     bids.       thought             something       might           not     be     right




                                                                                                                                                                                           GCS-FTC_0000                         1019




                                                                                                     P1 Exhibit                      Page 00863
                                                                                                                                                                                         .-




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Dont worry.. about                      the         mess     just    let   me know when                everythings                straight




stepping          into    meeting               withfor               10        mm be        right   back




oK    will      do




rn    baclc




     ok




PurchasThg               as   we      speak.             cross your             fingers




Nancy          Can        veify             that     right   now      health         and     beauty     products            are     not   being    sold   due    to    lack   of

merchant              IDs




 think         that    they     can         still   be   purchased              on    Masler     Card          let    me    conlirin         be   right   back




ok




Hi                     am      told     that        Master     card        is
                                                                                processing           re-bins     but      no   new sales on any thing




So    the       answer         to     the      question        iii    was       for   new customers                  is   NO




This      is    what          have      explained            to     the    agent      with     the   customer             trying     to   order




thank          you




                                                                                                                                                                      GCS-FTC_00001020




                                                                                           P1 Exhibit                 Page         00864
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Dont     Fee        like    you have           to    work         the    weekend               to   get      this   done                      it   can        wait   until        Monday
                                                                                                                             _____




Nofl         just    need        something            to     do     this      weekend                  promise        not    to    overdo           it




Ok      sounds             good    to    i-ne         think        this      will    be        nice         change     for   the Agents                  because           ills    niore         positive

thing    that       people        have        signed          up    for      and      the      calls    shouldnt           get too nasty




  agree..




  am     stepping           out   of    my      office        for        sec        be     right    back




  am     back        Nancy..            But    its    that     time          of     day so unless you                 need        me    for        something              twill    talk    to
                                                                                                                                                                                                you    Monday




See ya Monday                                   have              great       weekend




Same         to     you     Nancy




Good         Momi




 Good thank                you    how         are    you      this       morning




 lam good            thanks             Hope         you     had             good        weekend




  did    thank        you     how was yours




 Do     at    the    agents        in   OKC          and      ELP            have        the   st      of    descriptors          available              so   that   if      customer           says    they
 have        such     and     such            descriplor                on    the     cc    the     agent       can   look    and       see         if   it   matches         one     of    ours




 Yes     but        they have           never        been         updated             since before              december




                                                                                                                                                                                    GCS-FTC_00001               024




                                                                                               P1 Exhibit                   Page       00865
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 can        send        you            report         from      the     19th        of    feb     to    now         and       keep       it
                                                                                                                                               going             from    now     on    it   you   would               like




 think         that     would             be         good       idea         Any     idea         as    to    why         the     reports            quit         comming




 am         actually               checking          and        will    make sure they do                           If   not                  do     it     in    the   mornings




ok          once              day    is    plenty          we     dont        need         them every                    hour




No     problem




So     is    it   pretty           dead        In   the    morning           before         Snow and                     then    dies         off pretty            quickly      after            Or        is   it   dead
most         of    th   day




Dead          most            of   the day




we     have               agenls           on       the   phone         at    the    time         and             are     on     calls        the     others            have    been        wailing         for         mm




That         is   what              feared           Sorry about              that                           to     Hernan            and       he        confirmed            that    him    and          Jesse
discussed                it
                               and        they      are    ok    with        changing           the         hours        to     8-5   Mon-Friday                        Would         you    start    it    on        Monday
then




Let     me         check                                        make sure we                    can         start    monday..                 one          sec
                                    withftnd



ok




Hi    Nancy..




hello             sony         did        nudge           you          guess             forgot        to    acknowledge                   you            first




                                                                                                                                                                                                  GCS-FTC_00001                042




                                                                                                   P1 Exhibit                         Page                00866
                                                                                                                                                    %r....r.v                       r.-




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it    is   part     of    the       rebuttal           ior2




far refund               for    14.95




 It   was         part    of    the     original           scripting           that    was sent and          the reascn              was asking             if
                                                                                                                                                                 you   had     it
                                                                                                                                                                                      was       because

we         dont     want            Agents          to    tell     customer           to   de-activale       any    more because           when             the customer                  de-activates

they         are     assuming                it   de-activated                all   charges       too So          just   wanted          to   ret   you    know             could         not   find   it




either         on    your           script         so      afl    is   goad




 yes         it   was         under      Customer                     Request         ReFund       for    14.95    rebuttal         2-




 yeah         that       is   the     only        reference                  have     to   deactivating




 refund             in    Hemans                  original         script




 ok        thanks




 No        problem




  Hi       nancy




  howdy




      forget        to    let   you      know            air     the    UMs         myself and        swill          be    out      except          for                md                        We         will   be

  attending              training                 am     going         to    leave     my Mon my phone                    on   in   case       you        may need          anything




  You        wifl   be        out     for the          rest      of    the    day     kind   of   thing




  Sorry           tomorrow.                  not       today




                                                                                                                                                                              GCS-FTC_00001                             050




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The          training         will       be     all
                                                        day




Oh Ok                 so    is     it
                                        any        training             to    do    with       us        or         tolalily      difterent             thing         Only        fell    me        if   you   want




it    is     motivational                training             with       zig       ziggler          laura        bush           rudy     guilliani            and     others.            it   is   supposed              to       be     good
     want       to    hear         Rudy




the          seminar          is     something                    called        get motivated




Sounds               wonderful                     Have                 great       time and             learn        lots




      will    try..




 Hi




 Hey          there..




     Sony           we      keep         seeming                  to    miss each               other on             IM today   wanted                          to    tell   you     should              enjoy your seminar
 and          not    worry about                      the    scripting              or     making             any     more changes to                         the    script       for the          time being                It   would

     appear          that     there            will     be         delay           in    getting         GC      agents           on    the        Swipebids               as per the conversation                                  have

     had     with      Hernan              today               will      keep           you     posted          as         hear




 Anything                thing           should              worry           about




     Tnithfully                                    am       not    sure            it   would       appear             that      the    Live       Chats            are doing                 good job           of    this       site        and
     therefore           we        are     letting           them take                  the    first     crack        at   it
                                                                                                                                 by    the    sounds            of    it     Then        they        will   be    pulling               the

     customer            onto           live
                                                   agents          it
                                                                        they can              not   deal        with       the    issue            So there            is         good        possibility             that        the    call


     volume          will     be        very       low         so they are                    thinking         we may            not     need           GC




     to    train their           agents               yet    until       we     see        ife         will    need them                     There       is    cost        involved                am    sure     with        training

     so    we dont want                       to      have        you waste                anything            on      that      end     if   it   is   not    going         to   work        out




                                                                                                                                                                                                            GCS          -FTC_0000                  1051




                                                                                                              P1 Exhibit                      Page            00868
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 will    try    to    be     as honest               with     you as       can      and       keep      you   posted                 but   for   now          would        bold    off       on   training




Thank          you forthe            heads            up..




You bet              talk    to   you soon




FYI      we      are    still     trying        to    get      merchant           to    put    through           billing           br product           If   that
                                                                                                                                                                     goes       through           as   it




should           there should               be          spike       for     bit    with       calls     Hut   as     of      yet      no    billing    has processed                    on    Visa          so
not     product         is      going     out        either     Just       mastercard             is
                                                                                                       shipping         and        billing




Good       Morning




Hey      there




Hey                         How     did    yoursenlinargo                    yesterday
         _____




The      motivation               seminarwas                  good        Laura        bush     rambled            little      bit    but otherwise                 feel   as     molivated            as    Can
be      ..ha   ha




Sounds           promising                      So     not    too    much         happened             yesterday            that      need       to   update         ya    on      It
                                                                                                                                                                                        was       pretty

quiet      on    the        homefront




That      is    always            good     to    here




Hear..          can     not       spell    today




Can we confirm                     the          pm     conference           call       for   today      please




                                                                                                                                                                                GCS-FTC_00001                      052




                                                                                          P1 Exhibit                 Page 00869
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No Problem




will   no1it      everyone




ok      talk    to    you then




Hi     Nancy..




Hey      Stranger               how        are    you        today




good      how about              you




 Very    wefl        thanks           How         are    things           going   down      in    El   Paso




They      are        going      stow        but    good             just    wanted     to   let
                                                                                                   you   know       that   twill   be   in   and   out   of    my    office    all   week
will    have      My       IM    on    my phone                if
                                                                    you need         anything          and    the    ladies                                   will   be   be   here   in


 case     there       is   anything              they    oil        can     help you with




 Ok      thanks        for the         heads            up                    wili   contact       them      for   anything        may need




 THank          you..        talk     to
                                            you soon




 Hi




                                                                                                                                                                 GCS          -FTC_0000 1053




                                                                                         P1 Exhibit                 Page      00870
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hey    there




 am     curious           did    you        guys      ever      change            your      hours             You had            asked               whde      ago            if   it    would         be

acceptable           from us and               we     said      yet         but      thought           you    were        going         to    let    us     know         if
                                                                                                                                                                               yu did            perhaps          you

changed        the        plan




No..    we     were       waiting           for    Swipebids            before            making        the    decision            numbers                and        call      volume and then the
go    ahead     was nevergiven                       aerwards                afler        swipebids           stayed        with     livechaL                So       light      nOW we are Sam

8pm and         mark and               kathy        have       not     discussed            changing           hours




Ok     just    thought               would        double        check          incase        we needed               to    adjust           the     hours       on     the         websites                  thanks      for

the    update




Good      Morning




Good         Morning




Hey there




Hi    Stranger              was       just    messaging                to    say     hello       and    to    let
                                                                                                                     you    know            my      tvlSN       is
                                                                                                                                                                     showing                    me    not    on   line

but      is    You        can    slut       message            me        but      for     some     reason           we     are      having           issues             So how                  have        you   been
and     what     have          you     been         up   to




Not     much.         trying         to stay        busy




     guess     the   call       volume         hasnt          picked         up    any       Not       that         expected           it
                                                                                                                                             to       was        told         the        other day            that    not

only were        they          nut     re-billing        on     visa        but     also     they had           stopped            re-bills         on    Master              card         now         too




Thai     looks       to   be     the     case..            apologize               will    send        you    the     offered          calls         have            been          on      vacation           since      last

 Thursday




 no    problem                 hope      you had               nice     vacation             Doesnt           sound         like     it     was very long                           Does         it   look     like   they

 are going       to       come         up   with     some             more work            for   you guys            within      the         centre since our                           calls    have        dwindled

 so    much      or       Is   that     not    the       way     it   works




                                                                                                                                                                                           GCS-FTC_00001                        054




                                                                                           P1 Exhibit                                00871
                                                                                                                          Page
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when        you   have               chance.come                   SEe        me




sure




how marw              years      ol training            experience              do    you    have         did   you say    15




 have        about         12   from        the    elementary             school        and         1/2    from    GC.         said       12    but   its   Uke   13




thanks




no    problem..




refresh        my memory...4                                 pised        herto        comp    days...was           she   gonna           use    any    vacabon




  cant       remember                but    let   me      call     and        ask..




  did    want     to       bother her             lol




  am        calling    right         riow...ifs         directed         to    us...   can    you     verify     with    her   if   she    is   dialing     866   528    021    4...




its    directed        to       us




     have     tried the         number            several        times         and     they   are    going      thru..     tried      with      886    28     6214      and    then    it   asks

for         PIN




she needs             to    dial      865




                                                                                                                                                                       GCS-FTC 00001066




                                                                                            P1 Exhibit             Page 00872
                                                                                                                                                                                          %V

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 think        they    arc         miss         dialing




yes    they     are




LOL




dons         nancy     want                 meeting          today




Let    me      ask




Pm     leaving                              see you        tomorrow




ok     bye




 no     problem              Would              you    give        me       breakdown          please      on    how      the    $$$    is   split   up   between            and
             sees                      on    there         but     not    getting   the   $S        so   who    gets     it   etc..




From          Nanny



what         money          is     site      talking       about




  am         Asking..            also                        off    next       week     and    ii   so   who    will    be    closing    on    Days off

  can        get     pier        to    close




Okay.           and     just           so    you     are    aware         corks           tomonow          and         has no     day-off      during     the   week




  ft   let   you     pick         it   and     pet back            to    him




                                                                                                                                                                    GCS-FTC_00001   067




                                                                                          P1 Exhibit              Page 00873
                       ....                                                                                   ...._...             .........nr



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he    has     sunday           and       wednesday..




am      seeing           something              wrong




No..    thats          good




Good        Morning                            nd                       was      just    informed             that    the     re-biling       did        not get through                on      the       adrnin


system            there        was an issue                 that     they are           looking          into        So you probably wont                         need        as   many             staff      as   we
thought          for   today           Probably             too    late     to   do anything about                     it   now          Sorry            will    get    back      to     you       with       any

news        on    what         to    expect        as soon           as               up    to    date     on    what         is    happeing




Thats        great       news          if   that    was the case                 we     would        have        been       slammed today                       with    the    addilfonal

volurne...thats                what          was dreading                 today..            just    want        to   have            great      nionday...this                could           be   the     one




no    eta    though




Thank         you      Nancy..              Actually        things        should           workout        okay        since         we    have      to     expalin       the       new         billing     system
and     uptrain          the        agents




     guess       since         we took down                 all   the     other websites                  safes        dropped            from around                  15000       to    7000               day      so    it




should           not   be      too    bad      for calls          for       few    days           Once         the    re-bilhng           hits      it   will    get    busy            will     let     you    know
as soon           as they determine                     what         they     are going             to   do     about       the      admin       systeni           and    the      hilling




Have             good          Monday




thanks           Nancy


Nancy         has      left     the    conversation




_____would                it   be     possible         to    givelM                        with   Nancy          so    that        when    there          are     questions         during               trainings

and/or           protocol           questions she                 can    lust     ask       nancy        and     copy       me           am   going         to    have        her be           responsible               for

OKC         updates            and such




                                                                                                                                                                                    GCS-FIQ90001                                068




                                                                                             P1 Exhibit                     Page 00874
                                                                                                               ......                                                      I...p


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probably          but    since       there         is    not    enterprise            who     can    tell               J/K




That     is
              true..




 just    had          5mm        hold       time...that           is      pretty     good      woohoo




That     is
              good..          have                          rying      all    the    numbers again                      to get    hold    times




great




Hey do you have                  the    word             tile   for the       gift   cards           miss placed                  the    one   you   gave   mrie




did     we    timid   out     about         our     dialer       hours         th



tried    no    answer..              will    keep           trying        him and
                                                                                           _______




awesome....Iets                do           heat         ticket        Ilk   you     did    last   lime




iii   addition...did          we     have          all    vacation            accounted            for   all    staff      this    year




did     you    get                   response




yeah..        but       did    not     get        it..    did   you




                                                   the      weekly           the     phone     issues
HeyHould                             put     in




                                                                                                                                                                   GCS-FTC_00001   076




                                                                                           P1 Exhibit                      Page         00875
                                                                                                                                                                                                                                                     t.i
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 have            probably                peeked               your        interest               in    asking           now eh

                            1gcs01v.com                       says
 ok        now you threw                       and            hooked            me
     meant you threw                               the      line        and     hooked                 me
Nancy            says
Well         what           is     happening                   here        is   that         like            months ago or longer                            we      had         networks        advertising            on   our

product            that          Oprah             backed               us on        the          Ace        products They went                              after        every     company             that    may have           said

that       and        were           going          to




tie        We         took         it   off    immediately                      and         that       was         pretty           much        the    end     of    it   at     that    point    Then         recently      someone
ran        the    story            again           and        peeked            interest               and         then        stated      JTM         is


 in    Sheiwood Park                                so        the       story       has          been         circulating               for the       last    week          in    the    news     and      papers            The
media            has        nothing                belier          to    do     then         try      to    stir
                                                                                                                    up     stuff           have         not read            it   yet     but      think         will   get   terdays

paper            as    it




was supposedly                            in the              news then                     So the agents                      in   Jacksonville               at    WE          Answer are comenting                     that     they
are        being         asked            questions                     about       it      down there                         thought            would         see

 if   you guys               were             taking           any heat             on           it    It   will    blow        over       and        they    will       move       on    to   bigger      better       stodes

                        gcserv.com                            says
 exactiy.everything                                  will      blow        over          and          on     to    the     next       story            We      always            promote         that     JTM




is
      following              all        guidelines                 that       are      regulated                   by    the    FTC        and        that    JTM         is     growing       and      getting        belier

Nancy            says
 Wow              good             line       there                             like        it        Great        and     thanks

                       jgcservcom                              says
 no        problem               Nancy               Let       me know                 if   you         need        anything              else




Great..            just                 heads            up    there          are      probably changes                              to   the     new        billing..           nancy     mentioned             something




is    it   not     going            to    be        yearly          thing       anymore




She         did       not        want         to    get        into      specilics.                    said        she     would          let    me know more                      as soon        as she gets

conformation




wow..whats                         new




                                                                                                                                                                                                               GCS-FTC                    00001078




                                                                                                                   P1 Exhibit                     Page         00876
                                                                                               ._%
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come       to     my        officce




offica




 just     invited                          to    our conversation                  ...




Sorry           am         checking             the    classification            for     management




                          ther2a         way            see        who     has     an    extreme          amount    of   refunds
Nancy           is                                to




  can     give            you   the       ones         that    are       high       will     email        them though         instead      of   IM




that     would             be   great....then                 that      would    give        us an    opportunity        to   see    why   they are having              an   high       refunds.




ok         will        send        it
                                        shortly




Hi                     and                      Actually           if   you want        to   run   the    reports   and       look      will    tell   you   how   to   do    it   in   an   email
and      then         you       can      see       who        is
                                                                    high    on   refunding           ok




Oh       that     would            be    great




 lets    see         if   we    can       check         the        lines




 im on      the           bridge




 whats          up




                                                                                                                                                                        GCS-FIC_0000                 1086




                                                                                               P1 Exhibit            Page            00877
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        lol       well          am     glad        that    you had            fun       you deserve                it




nancy             can      rajeev           send     us          screen        shot




Tall         me     exactly          what          you want              screen          shot        of



Hernan              was         just    going        to    send         me one




thank           you




Sood            Morning




Good              Morning            Nancy.J               have                    working            on       trying     to    get         the     call     dispositions               for   each    call   and        it   looks

like         we     did    pay                                    lernensO                bonus




We            are   including               the     hire    dates        now forthe                 incentive           spreadsheet




 So then what                    you         are    saying         is   the    incentive             breakdown                 you          gave         me        for     Oct   17th     has already been                   paid

 out         before        ft   was approved




 it   was sent out                     to   our     payroll        on    November               2nd            along    with          all    our     other           incentives          but    we   will    no    longer be

 doing            that                             As discussed               on        your   visit       that     you        will
                                                                                                                                        approve               all    bonuses            before       send     them           to
                           process

 payroll




 Ok            sounds            good             But        need        someone               to    take                       aside end                  let      that    agent       know      she    should         not

 have          got       that     bonus            and     she      needs          to    keep        ft   to    herself         There              are     still     numerous            errors      being    made            by

 her and                  certainly           do    not     want        to    reward       her        with          bonus             for     it




      will     personally               am        going     to    speak        with       her




 Ok            sounds            good             Maybe          instruct      any and              everyone            to     keep           their        lips      sealed       this   payday         about      if   they got




                                                                                                                                                                                                     GCS-FTC00001                    100




                                                                                                          P1 Exhibit                    Page             00878
                                                                                                                            .1                                                                                         I..--.-




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  bonus            you       could         have        issues           with    neW agents            who           see         have         been        given       it   and   have    not     been    there

very   long       getting           it   and      older          agents        with         slight   error        that     got        disqualified




 am    going           to
                             put    it    in    wrifing          what     the    requirements              will     be      and        then         send       to   you    for the     future       thanks




Thankyou               Nancy




good        morning              Nancy




good        mornings                            how        are    you     today




lam doing               great..trying                 to    get over             cold          wanted          to   confirm                with     you on          an    800   number        that.is    listed   on

your     list     as    New        Beauty-Mid                    Offshore




The     number              is    688-443-4420.1                        want    to     make        sure   that      this        number              is   not    ours




Can you           assist          me      with        this




sure        let    me       look         into    it   and        get back        to    you




thank       you so           much




Hi
confirm
                   are you sure                   of   the       number               we    have     433-4420                   not    443-4420                     Can you check             again     to




My     apologies             it    is    433-4420




yes    it   is    one       of    your         numbers according                       to   what     is   on    the      list         is    there          problem          with   it




                                                                                                                                                                                        GCS-FTC_00001                            101




                                                                                              P1 Exhibit                    Page 00879
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     do have             them scanned                    if   you     like        can      email              them    to        you        as    well




It   doesni              matter         to    me     which          way           receive        them                 just       wanted              to   make         sure     they     come          across      my desk
so     that            cart     approve            for    payment                 Thanks




no     problem




Hi                      are      you     at       your desk




hi    nancy




Hi

to
       We
      send             an
                                 have

                             email
                                             some
                                             to   you
                                                          changes

                                                          and
                                                                             coming
                                                                                  to     read
                                                                                                up
                                                                                                    to
                                                                                                         with

                                                                                                          see
                                                                                                                websites

                                                                                                                 if   it     makes
                                                                                                                                           and

                                                                                                                                                sense
                                                                                                                                                     how we are going
                                                                                                                                                            to    you    guys        and
                                                                                                                                                                                        to   be

                                                                                                                                                                                             then
                                                                                                                                                                                                  billing

                                                                                                                                                                                                            thought
                                                                                                                                                                                                                   lam      going



phone             call      may         be    needed           to further              explain           it     am         about           to    send       now




rio        problem            nancy




just        let    us       knowwhen                you       are    ready




ok            will       send      it   and        then       you guys             read and              decide            if
                                                                                                                                you want                  call    ok




it    is    on     its      way




thanks




           you     is       welcome




 Good             Morning                           and                      was         just    informed              that       the           re-biling        did   not     get     through         on    the   admin

 system                  there     was an issue                     that     they are           looking          into            So you probably wont                            need        as   many        staff    as   we
 thought               for    today           Probably          too        late     to    do     anything about                       it   now            Sorry         will    get back          to
                                                                                                                                                                                                        you     with   any
 news             on     what      to
                                         expect           as soon            as        am      up    to       date    on        what            is
                                                                                                                                                     happeing




                                                                                                                                                                                                    GCS-FTC 00001103




                                                                                                     P1 Exhibit                         Page              00880
                                                                        .1%-         -i.                     ..                                                            .-...                    ..    ....           .-   ...     .I




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Theta         great        newsi         if   Wet was the case                      we   would      have       been       slammed           today         with    the     additional

volume...thats                   what          was     dreading           today..-          just    want       to   have         great       rnonday...this             could             bathe          one




no     eta    though




Thank          you Nancy..                    ActuaHythings              should          workout          okay      since       we   have     to
                                                                                                                                                    expalin         the     new           billing        system
and     uptrain            the      agents




  guess            since        we     took     down        all   the    other websites                  sales      dropped          froni    around             15000        to    7000                 day so     it




should             not    be     too    bad     for calls         for        few     days        Once        the                     hits     it   will    get     busy            will     let             know
                                                                                                                    re-billing                                                                      you
as soon             as     they        determine        what        they       are going           to   do    about       the    admin       system          and    the       billing




Have               good        Monday



thanks             Nancy




 Hi
 hi   nancy              good       morning          again




                         too                   do           know                                        more classes scheduled                                   new Agents
 Hi    Again                                         you                if
                                                                             you have         any                                                     for                                 starting




 yes    we         are having                  class    this
                                                                  coming            Monday




 So    that         is     week         from        Today



              is
 yes     it




 Are     you        able       to    postpone          or   cancel             It
                                                                                    appears        that      with   the    sales shooting                 down      so low          with          the    websites




                                                                                                                                                                                   GCS-F1C_00001                                    104




                                                                                            P1 Exhibit                 Page          00881
                                                                                                                                                                                                   .....M
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removed            that       there     may         not           be    the     need           to    hire        another         group         We      expect        once        the   rebill   goes     through

there     will     be           high    call       volume                 but      after        that        it   will
                                                                                                                         probably slow                down     again




Let     me   see what                  can     do       to        cancel        it




Would        you         like     me   to     put       this       in    writing          end        then        send       it   to   you




that    would           be      great....and             let       me     work            on    it   on     ray     side      to      see what          can    do    too




Ok         will        send       itsoori




thank      you          nancy




Hi                  Can you            tell    me       ii                                      son         the     floor        today       please




  did    see           him today




                       not    available            on    lM and                                must be busy                 as         did    not     hear    back    from        him     no     big    deal        but

have             call        want      listened              to    today        Session           8765837                   that       is                            He     is
                                                                                                                                                                                 making     up    his    own      script

and      refunding               at   50%      just       to       be         nice        guy         Can          you have            this    call    listened      to    and     him   brought        in   to


discuss           it
                        piease




 no     problem              Nancy          will    take           care       of     it   immediately




 ok      great          thanks




 Hi




                                  gcserv.com                           has      been           added          to   the     conversation




 Hi




                                                                                                                                                                                           GCS-FTC_00001                   105




                                                                                                       P1 Exhibit                       Page          00882
                                                                                                                                                                                                                                        i.    ..
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hi
      nancy




Hi                Hope             didnt           wake          you            up         How        are the        calls      and       hold       times       today




lol     no    problem             nancy               forgot           to       put     myself        in    idle_the         calls       are        coming           in   good              Currently          there        are no

hold     times




really         lam       surprised                   Is    there            lots      of   calls      about        charges          going           onto       the     cx       visa         or     have       they       not    started


yet




we      havent         seen        anything                out        of    the       ordinary         at    this    time




OK           am    not       sure        if    you    know             what           is
                                                                                           happening   or going  to happen    They are                                                  preparing              batches           of

charges           to          through               on     the        30th         today       and on the cx acc    will show purple                                                         all
                                                                                                                                                                                                               well       those        will
                        go                                                                                                               it                                            If
                                                                                                                                                                                                    goes

go      through         tonight               So     the         lines          could      be    very busy            in   the      morning Jesse                           was asking                that     if   the     lines

become            very busy               in    the       next         little      while        we    may have             to     put    an         yR     on    the        lines




asking         customer              to       go     on        line    to the           chat     line       We      would         then        give       the    chat           line
                                                                                                                                                                                      permission               to    give       return

instructions                 So     if   you        could             keep         me      posted           and    kind      of    be    prepared               for    it        Thanks




Actually           sent out an                     email         tol                                          land       our      staffing          manager               to    ensure             that   we     Extra          time

available          for the          agents




We       can      put    the        VP message                          on...do            you     think      we     should         wait       if   we     do    have                 hire    call        volume           we     can

 be     prepared             on    our         end        to    ensure             we can            turn    on    the     VP message                      when           we      need        to What                do     you
 thin   kg




     meant higher                 call        volume




 lol




                                                                                                                                                                                                          GCS-FTC_00001                        106




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what     would         you want             the      IVR         message              to    say




Maybe          hold    off     for         little    bit          Will     discuss          it   further    and      get    back        to    you     before     the    afternoon          is
                                                                                                                                                                                                 over            Yes
  have     to    work        on    the       IVR         message              too




sounds          good      just       let   me know                arid       we      wilt   do    it




  will   for
                sure         thanks




I-li




hi     nancy




Hey                    how you doing                      today




got your         winter        booties              on




doing      really       good           LOL               wish          had    winter         booties       today..         but    we     are     managing




how       can         help...were              you         looking         for




 no      not     really           was         lust       wondering                how many             calls    havo       been     put        through       today        used        to   get             report

 once           day     that      told      me           it    was from                                    ..
                                                                                                                but       somehow             that    quit     coming    and     cowl           get          report

 from     flvery                  hour         but       lam         not     sure      if    am     suppose          to    add    the        totals   every      time     get    them           or   what

 preferred            the ones              used          to    geL        So        am      bugging        you   instead




 LOL no problem                            can      tell       you     that     at   this     time     we have         answered               7444     calls    today     We          have       no    wait

 times




 You      are     on your          numbers                    pretty     quick       today         thanks       so     much             have          reeling     Monday         is    going          to    be

 busier




                                                                                                                                                                                GCS-FTC_00001                          107




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 We       are       anticipating                    it   ton     We       have        everyone                 staffed          that         day as             well     as   incentives              to   come        lit         This

 goes both                   for       ELP         and     OKC




 Sounds              good                    hope        the    weather          down       there              smartens                 up        for    you     guys         you        are    not    used       to    it    it   can      be
 dangerous                        It    is   misserable             here          there     is     about           14          inches             of   snow        all   over       the        roads       and    it   is
                                                                                                                                                                                                                             slippery




 Just         about           time           for         road             ha     ha
                                                                 trip




 Wow...14                    inches           that       crazylt        the    city   would          literally          close           if    that       would           happen           here         Our       forecast           for

 Monday                 is   in        the    60     and       sunny      we      are going              to     our normal                    days..jajaJa.if                      you     need             road       trip        you are

 always             welcome                   here




        thanks                    was         thinking          you should             come          this
                                                                                                                way            but      we        will    wait        for        title    more snow               foryou            first




 loll     wouldnt                  even            fathom        how      l4inches          looks              like




  would              love         it    though




 tol




 Good              Mornin                            Have        you had             any   ieedback                this         morning                 from any            of   your      staff that          the     Admin system
 is     not        working              for    them




      went         on        the       floor...no          one     has        said                                                           appears                   be     good..was                there
                                                                                      anything...everything                                                      to
                                                                                                                                                                                                                  anything             wrong
 with         it   before




 oh      my          good               morning           to    you     too




 Thanks                                  no    there        shouldnt            be    any issues                   but         the      other            call    centre          was saying            they       were        having

 problems                     sol            was     just      checking          to   see    if    it   was working                          at   your          end         mine     is   working           oktoo




                                                                                                                                                                                                            GCS-FIC_00001                        108




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ok    sounds        good..we            will       let   you   know      if   we    are    having        any   lssues..thanks




thanks




Hi
hi    nancy




Rajeev          From     the    India        Team         is   saying he           has had          chat    with               about   the    calls   they   are   trying   to   up

load      and     are unable            to     because           the server         is    temporarily          unable   to   service    the    request       Do you know

anything about                 your server being                  down




My      India     team tends            to     panic        when        they cant         do     calls




thats      ok..                 son          the     phone       with    teteconi...we            are checking          what     the issue is




     am   IMingj       with                  a5      well




ok        sounds        good       can         you       let   me know         what       you     find   out       thanks




           surely       will
yes




                          Rajeev         to    check           again...it     should        be    working       in   about     10-15   mins
 ______asked




 OK        great    tharlkst




 no     prob




 Good         Morning




                                                                                                                                                             GCS-FTC                  00001109




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